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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
          Plaintiff                              §
v.                                               §       Case No. 18-CR-00115
                                                 §
RODOLFO RUDY DELGADO                             §
         Defendant                               §

                       UNOPPOSED MOTION FOR CONTINUANCE

TO THE HONORABLE JUDGE OF SAID COURT:
          NOW COMES Rodolfo Rudy Delgado, by and through his undersigned counsel and,

brings this Unopposed Motion for Continuance, and in support hereof, defendant would show the

court the following:

                              A. Unopposed Request for Continuance.

          Jury Selection/Trial is scheduled for Monday, February 25, 2019. For the reasons set forth

below, Defendant requests a continuance. Undersigned counsel has had several conversations with

Government counsel regarding the matters described below. Government counsel authorized

undersigned counsel to communicate to the Court that the Defendant’s need for a continuance is

reasonable, and is therefore unopposed to Defendant's request for a continuance of trial.

                                      B. Need for Continuance.

          Undersigned counsel is currently in a federal trial in the Laredo Division of the Southern

District of Texas, United States v. Harsh Jaggi, et al, Cr. No. 5:17-cr-00560, the Honorable U.S. District

Judge Marina Garcia Marmolejo presiding. The Jaggi case involves six defendants in trial, three

Government trial prosecutors, and at least one additional Government prosecutor assisting with

document management and other issues. The case was designated a complex case at its inception.

Originally anticipated to be a less-than-two-week trial, the Jaggi trial is now in its third week, and will

undoubtedly continue through next week and likely into the week of February 4. Had the Jaggi trial

finished as expected, undersigned counsel would have had enough time to prepare. Given the
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complexity of the instant case, however, the extended nature of the Jaggi trial is significantly

impacting undersigned counsel’s ability to adequately prepare for the instant Delgado trial.

          Additionally, it is unknown at this point whether, or perhaps more accurately, to what

extent the current government shutdown will affect trial in the instant case under its current

February setting.

                                      D. Requested Conference.

          All attorneys in the instant case respectfully request a telephone conference with the Court

to discuss these issues. Preferably, given the pretrial motions deadline scheduled for this coming

Monday, January 28th, all attorneys respectfully request a conference on this Friday, January 25th as

the Court in Jaggi will not be in session this Friday. Should the Court be inclined to grant the motion

for continuance, all attorneys are available to confer with the Court relative to calendar availability.

          Defendant and undersigned counsel have been diligent in preparing for trial in the instant

case. Multiple trips have occurred to meet with potential witnesses, and a significant degree of work

has occurred in assimilating and analyzing potential exhibits. Accordingly, this motion is not made

for unnecessary purposes of delay, but rather in the interest in justice. Undersigned counsel has

conferred with Defendant, and Defendant concurs that a continuance is needed in order to

adequately avail himself of his Constitutional rights.

        WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that this

Honorable Court will grant this Motion for Continuance.

                                                 Respectfully submitted,

                                                 /s/ Michael McCrum
                                                 Michael McCrum
                                                 Texas State Bar No. 13493200
                                                 MCCRUM LAW OFFICE
                                                 404 E. Ramsey, Suite 102
                                                 San Antonio, TX 78216
                                                 (210) 225-2285; (210) 225-7045 (fax)
                                                 Counsel for Defendant Rodolfo Delgado
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                                       Certificate of Conference

        I hereby certify that undersigned counsel’s office conferred with DOJ Trial Attorney Peter

Nothstein and AUSA Rob Jones regarding the matters described above and received confirmation

that the government does not oppose a continuance of the trial setting, as described above.

                                                  /s/ Michael McCrum
                                                  Michael McCrum




                                         Certificate of Service

        I hereby certify that a copy of the above and foregoing document has been filed

electronically, on this the 23rd day of January 2019 and a copy sent to the United States Attorney’s

Office, and all other counsel through the court’s electronic filing system.



                                                  /s/ Michael McCrum
                                                  Michael McCrum
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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
          Plaintiff                           §
v.                                            §      Case No. 18-CR-00115
                                              §
RODOLFO RUDY DELGADO                          §
         Defendant                            §

                                         ORDER


       THIS MATTER having come before the Court on the Defendant’s Unopposed Motion for

Continuance, the Court finds the requested continuance is made for good cause and is not

interposed for purposes of delay.

       IT IS HEREBY ORDERED that the Defendant’s Unopposed Motion for Continuance is

hereby GRANTED. All settings in this case will be reset by further order of this Court.

       SIGNED AND ENTERED, on this the _____ day of ______________, 2019.



                                              __________________________________
                                              ALFRED H. BENNETT
                                              UNITED STATES DISTRICT JUDGE
